   Case 3:07-cr-00177 Document 153     Filed 05/09/2008 Page 1 of 12
Case 3:07-cr-00177-P Document 153 Filed 05/09/08 Page 1 of 7 PageID 621
   Case 3:07-cr-00177 Document 153     Filed 05/09/2008 Page 2 of 12
Case 3:07-cr-00177-P Document 153 Filed 05/09/08 Page 2 of 7 PageID 622
   Case 3:07-cr-00177 Document 153     Filed 05/09/2008 Page 3 of 12
Case 3:07-cr-00177-P Document 153 Filed 05/09/08 Page 3 of 7 PageID 623
   Case 3:07-cr-00177 Document 153     Filed 05/09/2008 Page 4 of 12
Case 3:07-cr-00177-P Document 153 Filed 05/09/08 Page 4 of 7 PageID 624
   Case 3:07-cr-00177 Document 153     Filed 05/09/2008 Page 5 of 12
Case 3:07-cr-00177-P Document 153 Filed 05/09/08 Page 5 of 7 PageID 625
   Case 3:07-cr-00177 Document 153     Filed 05/09/2008 Page 6 of 12
Case 3:07-cr-00177-P Document 153 Filed 05/09/08 Page 6 of 7 PageID 626
   Case 3:07-cr-00177 Document 153     Filed 05/09/2008 Page 7 of 12
Case 3:07-cr-00177-P Document 153 Filed 05/09/08 Page 7 of 7 PageID 627
